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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                        FORT WORTH DIVISION


TEXAS, WISCONSIN, ALABAMA,
ARKANSAS, ARIZONA, FLORIDA,
GEORGIA, INDIANA, KANSAS,
LOUISIANA, PAUL LePAGE, Governor of
Maine, Governor Phil Bryant of the State of
MISSISSIPPI, MISSOURI, NEBRASKA,
NORTH DAKOTA, SOUTH CAROLINA,
SOUTH DAKOTA, TENNESSEE, UTAH,
WEST VIRGINIA, NEILL HURLEY, and
JOHN NANTZ,
                                     Plaintiffs,   Civil Action No. 4:18-cv-
                                                   00167-O
           v.
 UNITED STATES OF AMERICA, UNITED
 STATES DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, ALEX AZAR, in his
 Official Capacity as SECRETARY OF
 HEALTH AND HUMAN SERVICES,
 UNITED STATES INTERNAL REVENUE
 SERVICE, and DAVID J. KAUTTER, in his
 Official Capacity as Acting COMMISSIONER
 OF INTERNAL REVENUE,
                                   Defendants.


CALIFORNIA, CONNECTICUT, DISTRICT
OF COLUMBIA, DELAWARE, HAWAII,
ILLINOIS, KENTUCKY,
MASSACHUSETTS, MINNESOTA by and
through its Department of Commerce, NEW
JERSEY, NEW YORK, NORTH CAROLINA,
OREGON, RHODE ISLAND, VERMONT,
VIRGINIA, and WASHINGTON,

                  Intervenor-Defendants.



           INTERVENOR STATES’ RESPONSE TO JULY 16, 2018
                                COURT ORDER




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         The Intervenor States submit this response to the Court’s July 16,
    2018 Order directing the parties “to file any additional information they
    wish to present in opposition to considering” the issues raised by the
    briefing on Plaintiffs’ Application for a Preliminary Injunction “on
    summary judgment.” ECF No. 176. The Intervenor States understand that
    Order not as a request to present additional evidence or arguments they
    might submit in support of (or in opposition to) a motion for summary
    judgment, but instead a request to identify for the Court what evidence and
    argument they might wish to raise during summary judgment briefing.
         The Intervenor States respectfully submit that this Court should not
    convert the briefing on the preliminary injunction application into a motion
    for summary judgment. The Intervenor States’ opposition to the
    application for a preliminary injunction focused on the legal and
    evidentiary standards that govern that relief. At the summary judgment
    stage, however, the Intervenor States would be afforded an opportunity to
    more fully brief legal issues that the preliminary injunction legal standard
    and page limitations did not permit previously. These issues include, but
    are not limited to: (1) whether Plaintiffs have Article III standing to
    challenge the constitutionality of the minimum coverage provision; (2)
    whether the minimum coverage requirement under 26 U.S.C. § 5000A may
    now be sustained under the Commerce Clause, see State Defendants’ Br. in
    Opp. to Plaintiffs’ Application for a Preliminary Injunction, ECF No. 91, at
    18 n.17; (3) whether an injunction limited to the 20 Plaintiff States is
    legally supportable and whether it would harm the Intervenor States,1 (4)
    whether regulations promulgated under the Affordable Care Act remain


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             The Plaintiff States requested this narrower injunctive relief for the
    first time in their Preliminary Injunction Reply Brief. See ECF No. 175 at
    29-30.




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    lawful if the minimum coverage provision, or any other provisions, are
    struck down; (5) whether the Supreme Court’s “modern severability
    precedents” are consistent with “longstanding limits on judicial power,”
    Murphy v. Nat’l Collegiate Athletic Ass’n, 138 S. Ct. 1461, 1487 (2018)
    (Thomas, J., concurring); and (6) whether Plaintiffs can meet their burden
    of demonstrating that they are entitled to a permanent injunction, see, e.g.,
    eBay Inc. v. MercExchange, LLC, 547 U.S. 388, 391 (identifying factors
    that a plaintiff seeking permanent injunctive relief must satisfy).
         If the Court nevertheless intends to move straight to summary
    judgment at this time, it should permit the parties the opportunity to submit
    supplemental briefing which will enable the parties to place all of the legal
    and factual issues in this case before the Court.2 See Underwood v. Hunter,
    604 F.2d 367, 369 (5th Cir. 1979) (when only a preliminary injunction is
    pending, “we cannot say with assurance that the parties will present
    everything they have. The very intimation of mortality when summary
    judgment is at issue assures us that the motion will be rebutted with every
    factual and legal argument available.”). Based upon all of the foregoing,
    the Intervenor States—in agreement with the Plaintiffs—urge the Court to
    decline the Federal Defendants’ invitation to convert the pending
    preliminary injunction application into another motion. If the Court
    determines that summary judgment is appropriate at this time, however, the
    Intervenor States respectfully request that the Court grant the parties a 30-
    day period to file supplemental briefing on the additional issues identified
    above (and perhaps others).



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             Whether the Court rules on the merits under the preliminary
    injunction standard or under the summary judgment framework, the Court’s
    ruling should be a final appealable order or a final judgment so that the
    parties may promptly seek appellate review.




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    Dated July 30, 2018        Respectfully submitted,
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